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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                            )
                     Plaintiff,                      )
                                                     )
       vs.                                           )       Case No. 11-40088-01-RDR
                                                     )
ANDREW MICHAEL AMUNDSEN,                             )
                  Defendant.                         )
                                                     )

                                            ORDER

       NOW on this 21st day of November, 2011, the above-entitled matter comes before the Court

upon the motion of counsel for the accused, Andrew Michael Amundsen, for an order granting two

(2) weeks’ additional time to file motions herein. The Court, after reviewing the motion and being

fully advised in the premises finds that there exists good cause for the motion, and that the motion

should therefore be sustained.

       The Court finds that additional time is needed because the parties have entered into plea

negotiations and they may be able to resolve this matter without the necessity of trial.

       The Court further finds that the prosecutor has no objection to the motion.

       The Court further finds that failure to grant the extension would result in a miscarriage of

justice and deny the defendant due process.

       The Court finds that the period of delay resulting from the additional time granted pursuant

to this Order shall be excludable time as provided for in 18 U.S.C. 3161(h)(7) in that the ends of

justice served by the granting of such motion outweigh the best interest of the public and the

defendant in a speedy trial.

       IT IS THEREFORE ORDERED that the accused, Andrew Michael Amundsen, shall have

two (2) weeks’ additional time up to and including November 29, 2011 to file motions in the above-

entitled action, and the government shall have until December 7, 2011 to file responses. The hearing

on said motions is hereby rescheduled to December 15, 2011 at 9:30 a.m. The period of delay

resulting from such continuance shall be excludable time as provided for by the Speedy Trial Act,

18 U.S.C. 3161(h)(7).
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                             s/Richard D. Rogers
                             United States District Judge




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